Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 1 of 18 zF><'J\Qe|D 42

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT 01=' TENNESSEE 05 JU!. 21 PH 2: 03
wEsTERN DIVISION

 

MEMPHIS CITY SCHOOLS, et al.,

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.M.$`HC
JANE nos # 1, by and through ) W-'D ’T ':"?~1,;’;’:('#?£1
her next friend (mother, )
Jane Doe # 2), and JANE DOE )
# 2, )
)
Plaintiffs, )
)
v. ) Nb. 04-2283 Ma V
)
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Defendants.

 

ORDER ON PENDING MOTIONS

 

This case arises from the alleged sexual abuse of Jane Doe #
l, a minor student at Kirby High School (“KHS”), by one of her
instructors at KHS. Plaintiffs allege causes of action under 20

U.S.C. § 1681 (“Title IX”), 42 U.S.C. § 1983, and state law.

Before the court are five pending motions: 1) Plaintiffs’
“motion for partial summary judgment as to liability of Defendant
Danny Peterson as to all counts of the complaint,” filed March 14,
2005, 2) the motion for summary' judgment of Defendant Glynn
Faulkner, filed April l, 2005, to which Plaintiffs responded on
June 17, 2005, 3) the motion for summary judgment of Defendant
Thomas Killough, filed April l, 2005, to which Plaintiffs responded
on June l7, 2005, 4) the motion for summary judgment of Defendants

Memphis City Schools (“the school system”) and Bob Archer, filed

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with Ru!e bn and/or 79(3) FHCP un _M_' "O§)

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 2 of 18 Page|D 43

April 7, 2005, to which Plaintiffs responded on June 17, 2005, and
5) Defendants' motion to strike Plaintiffs' memorandunl of law
opposing Defendants' motions for summary judgment, filed June 29,
2005, to which Plaintiffs responded on duly 1, 2005. For the
following reasons, Defendants' motion to strike is DENIED. The
motions for summary judgment of Killough, Archer, and the school
system are GRANTED on § 1983 and Title IX claims, and the state

claims against those defendants are DISMISSED without prejudice.
I. Background

The following facts are taken from the complaint. From
November, 2002, through February, 2003, Defendant Danny Peterson
was a “volunteer” band instructor at KHS, compensated privately by
the KHS band booster club. Plaintiff Jane Doe #1 (“Doe”), then a
minor, was a member of the KHS band. (Compl. jj 9-10.) Peterson
took Doe off campus to area motels during school hours, where they
engaged in sexual activities. Peterson never signed Doe out to
leave campus. (Id. j 11.) Defendant Glynn Faulkner, the KHS band
director, knew that Peterson was taking Doe off campus during

school hours. (Id. 1 12.)

On May 27, 2003, Peterson harassed Doe in the KHS band room
after school. (Id. j 15.) On or about May 30, 2003, Plaintiff Jane
Doe #2 (“Doe’s mother”) learned of Peterson's conduct and contacted
Defendant Thomas Killough, principal of KHS. Killough pulled Doe’s
attendance records, which showed numerous unexcused absences about

2

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 3 of 18 Page|D 44

which KHS had never notified Doe’s mother. (Id. 1 14.) Doe’s
mother then contacted Defendant Bob Archer, associate
superintendent for the school system, about Peterson's conduct.
Archer said that he would not act unless law enforcement acted.

(Id. 120.)

After Doe’s mother reported Peterson's activities, Peterson
began telephoning and harassing Doe. (Id. 1 24.) In early June,
2003, Doe’s mother petitioned the General Sessions Criminal Court
of Shelby County for an order of protection against Peterson. On
June 30, the date of the scheduled hearing on the petition, an
unknown person or persons shot at Doe’s mother's automobile, which
was parked in the driveway of her home. (Id. 11 26-27.) The court
granted the protective order against Peterson. (Id. 1 28.) After
several unsuccessful attempts by Doe’s mother, Doe obtained a
“safety” transfer to another high school in the school system for
her senior year. (Id. 1 37.) The Plaintiffs allege that the school
system is deliberately indifferent to the “wholesale sexual
misconduct” of faculty and staff that occurs throughout the school

system. (Id. 1 36.)
II. Jurisdiction

Plaintiffs bring claims under § 1983 and Title IX. Thus, the
court exercises federal-question jurisdiction under 28 U.S.C. §
1331. The court has jurisdiction over pendant state law claims

under 28 U.S.C. § 1367.

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 4 of 18 Page|D 45

III. Legal Standard for Summary Judgment

The party moving for summary judgment “bears the burden of
clearly' and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden-Alimak, Inc.,
799 F.2d 1128, 1133 (6th Cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence

to support an essential element of their case. See Street v. J.C.

 

Bradford & CO., 886 F.2d 1472, 1479 (6th Cir. 1989).

 

When confronted with a properly supported motion for summary
judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Liberty Lobbv,
;ggg, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere
reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.
317, 324 (1986). Instead, the nonmoving party must present

“concrete evidence supporting its claims.” Cloverdale EquiD. Co.

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 5 of 18 Page|D 46

v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The
district court does not have the duty to search the record for such
evidence. §gg InterRoval Corp. v. Sponseller, 889 F.2d 108, 110-11`
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury

decision in their favor. See id.

IV. Motion to Strike

The Defendants move to strike Plaintiffs' memorandum of law in
response to the Defendants’ motions for summary judgment because
the memorandum was not timely filed. The court allowed Plaintiffs
until June 17, 2005 to respond to the respective motions for
summary judgment. Plaintiffs timely filed responses to the
statements of undisputed facts and responses to various other
motions. In their responses, Plaintiffs referred to a Memorandum
of Law and Appendices. The memorandum of law appears not to have
been filed until June 24, 2005, and defense counsel did not receive

a copy until June 27, 2005.

The court has discretion to consider.late-filed materials like
Plaintiffs’ memorandun1 of law. See, e.g., Featsent v. Citv <Jf
Youngstown, 70 F.3d 900, 906 (6th Cir. 1995); Zeyed v. U.S., 221 F.
Supp. 2d 813, 815 n.l (N.D. Ohio 2002). A legal memorandum is not
part of the evidentiary record, and the Defendants have not
demonstrated any prejudice. In addition, the court would not wish

to rule on the Defendants' motions for summary judgment without

5

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 6 of 18 Page|D 47

hearing and considering the Plaintiffs’ legal arguments.
Therefore, the court concludes that the untimeliness of Plaintiffs'
memorandum of law is harmless error and DENIES the Defendants'

motion to strike.
V. Killough's Motion for Summary Judgment

Plaintiff brings claims against Killough under § 1983 and
Title IX. As a preliminary matter, only federally funded
educational institutions are subject to liability in private causes
of action under Title IX. §§§ Davis Next Friend LaShonda D. v.
Monroe Countv Bd. of Educ., 526 U.S. 629, 636 (1999). Thus, Title
IX does not provide a cause of action against individual
defendants, and any Title IX claims against Killough or Archer must

be dismissed.

Plaintiffs may bring a claim against Killough under § 1983 if
Killough, acting under color of state law, deprived Doe of
constitutional rights. “It is undisputed that the Due Process
Clause of the Fourteenth Amendment protects the right of a child to
be free from sexual abuse inflicted by a public school teacher.”l
Doe v. Warren Consolidated Schools, 93 Fed. Appx. 812, 818 (6th
Cir. 2004)(unpublished)(citing Doe v. Citv of Roseville, 296 F.3d

431, 438 (6th Cir. 2002)). Because Killough is not the individual

 

1 The court assumes, for purposes of this motion, that Peterson was

acting under color of state law and that his conduct deprived Doe of a
constitutional right.

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 7 of 18 Page|D 48

who engaged in sexual contact2 with. Doe, his conduct must be
evaluated under the § 1983 standards for “supervisory liability.”
See id.; Roseville, 296 F.3d at 439. A defendant is not liable
under § 1983 if he was merely “sloppy, reckless or negligent in the
performance of [his] duties.” Roseville, 296 F.3d at 439. Rather,
the Plaintiffs must show that Killough acted with “deliberate
indifference” to Doe’s constitutional rights. Doe v. Claiborne
Countv, Tennessee, 103 F.3d 495, 513 (6th Cir. 1996)(quoting Barber
v. City of Salem, 953 F.2d 232, 240 (6th Cir. 1992). The courts
have interpreted this standard to require that plaintiffs show “the
defendants’ conduct amounted to a tacit authorization of the abuse”
or that the defendant “encouraged the specific incident of
misconduct or in some other way directly participated in it.”
Claiborne County, 103 F.3d at 513 (citing Bellamv v. Bradley, 729

F.2d 416, 421 (6th Cir. 1984)).

Plaintiffs have offered no evidence and do not appear to
contend that Killough had knowledge of any sexual contact between
Peterson and Doe, or any other unlawful behavior on Peterson's part
before May 30, 2003, when Doe’s mother discovered the abuse and
informed Killough. (See Doe # 2 Depo. 128:10-14; Doe # 1 Depo.
40:3-8.) The latest incident of abuse is alleged to have occurred

on May 27, 2003. Because Killough lacked any prior knowledge of

 

2 The court agrees with Plaintiffs and rejects the Defendants'

characterization of the alleged relationship between Peterson and Doe as an
“affair."

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 8 of 18 Page|D 49

Peterson's conduct or the risk of harm to Doe, Killough’s actions
fall well short of the deliberate indifference standard under §
1983. See Claiborne Countv, 103 F.3d at 513; Roseville, 296 F.3d at
440-41. Although Plaintiffs offer evidence that Killough has been
reprimanded for various professional infractions and failed to
respond properly when Doe’s nmther informed him of Peterson's
actions, that evidence does not support the conclusion that
Killough tacitly authorized or encouraged or participated in any
sexual abuse. Thus, there is no genuine issue of material fact,
and the Plaintiff's federal claims against Killough must be

dismissed.

VI. Motion for Summary Judgment of Bob Archer and Memphis City
Schools

A. Bob Archer

It is undisputed that Archer‘ did. not know' of Peterson's
conduct until the summer of 2003, when Plaintiffs sought to
transfer Doe to another high school within the school system. (Doe
# 2 Depo. 85:14*86:1.) Because Archer, too, lacked prior knowledge
of any risk of harm to Doe, he cannot be held liable under § 1983's
“deliberate indifference” standard. Thus, the federal claims

against Archer must be dismissed.

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 9 of 18 Page|D 50

B. The School System
1. Title IX

Plaintiffs assert claims against the school system under Title
IX and § 1983. Title IX does not permit recovery against a school
district for the sexual harassment of a student by a teacher unless
there is “actual notice to a school district official ... with
authority to take corrective action.” Gebser v. Lego Vista
Independent School District, 524 U.S. 274, 285, 290 (1999). The
school official’s conduct upon receiving notice must amount to
deliberate indifference to the risk of harm to the student. lgg at

291.

“Title IX contains important clues that Congress did not
intend to allow recovery in damages where liability rests solely on
principles of vicarious liability or constructive notice. Title
IX's express means of enforcement - by administrative agencies -
operates on an assumption of actual notice to officials of the
funding recipient.” ldg at 288. Defendant Faulkner was the KHS
band director when the events giving rise to this suit occurred.
Defendant Peterson was an assistant, part-time band instructor.
Plaintiffs offer evidence that Faulkner, who is a teacher in the
school system, might have known about Peterson's conduct and that
Faulkner had the authority to fire Peterson or otherwise prevent

Peterson's contact with Doe.

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 10 of 18 Page|D 51

Plaintiffs’ evidence, however, is not sufficient to show that
Faulkner was an official whose knowledge could subject the school
systenl to liability' under Title IX.3 To qualify' a classroom
teacher or band director, without more authority, as an “official”
under Gebser would undermine the Supreme Court's rejection of
vicarious liability in private Title IX actions. Indeed, in that
decision, the knowledge of the accused teacher, who without
question could have ended his own alleged sexual relationship with
the plaintiff, was found insufficient to constitute notice to the
school district. gee idg at 291 (rejecting theory of notice offered

by the dissent).

Decisions applying Title IX to sexual harassment have required
knowledge and/or notice to those with the administrative authority
to make discretionary decisions on behalf of the school system,
such as superintendents or principals. Seel e.g., Gebser, 526 U.S.
at 654 (holding that notice of inappropriate comments by a teacher
was “plainly'insufficient to alert the principal to the possibility
that [the teacher] was involved in a sexual relationship with a
student”); Vance v. Spencer Co. Public School Dist., 231 F.3d 253,
259 (6th Cir. 2000)(finding notice where plaintiff notified

teachers and principals); Warren ex rel. Good v. Reading School

 

3 There is some question about Peterson's status when he engaged in the
alleged conduct. Even if the facts are analyzed under Title IX's “peer-to-
peer” sexual harassment standard, the school system must receive actual notice
and act with deliberate indifference to be held liable. §§§ Davis Next Friend
LaShonda D., 527 U.S. at 649-50.

10

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 11 of 18 Page|D 52

 

Dist., 278 F.3d 163, 171-73 (3d Cir. 2002)(finding that principal,
but not guidance counselor, was “appropriate person” under Title
IX); Wilson v. Luttrell, 230 F.3d 1361, at *6 (6th Cir. 2000)
(unpublished) (evaluating notice to principal and superintendent);
Schroeder v. Maumee Bd. of Educ., 296 F. Supp. 2d 869, 880 (N.D.
Ohio 2003)(holding that notice to principal and assistant principal
was sufficient notice to school system). The Plaintiffs have not
cited, and the court has not located, any authority holding a
school system liable under Title IX based on the knowledge of a

lower-ranking school employee.

The only individuals in this suit who would qualify as
“officials” under Title IX are Killough, the KHS principal, and
Archer, an assistant superintendent. As discussed above, neither
Killough nor Archer had notice of any risk of harm to Doe. Thus,
the school system did not have actual notice of any sexual
harassment of Doe and did not act with deliberate indifference to
her rights. The Title IX claim against the school system must be

dismissed.
2. § 1983

The school system can be found liable under § 1983 if “the
plaintiff can establish that an officially executed policy, or the
toleration of a custonlwithin the school district leads to, causes,
or results in. the deprivation. of a constitutionally' protected

right.” Claiborne County, 103 F.3d at 507 (citing Monell v. Dept.

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Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 12 of 18 Page|D 53

of Social Servs., 436 U.S. 658, 690-91 (1978)). Where, as here, a

 

plaintiff alleges that a school system customarily fails to act to
prevent sexual abuse, the plaintiff must show 1) the existence of
a clear and persistent pattern of sexual abuse by school employees,
2) notice or constructive notice to the school system, 3) the
school system’s tacit approval of the unconstitutional conduct,
such that its deliberate indifference in failing to act can be said
to amount to an official policy of inaction, and 4) that the school
system's custom was the “moving force” or direct causal link in the
constitutional deprivation. ld; at 508 (applying municipal
liability standard in Citv of Canton v. Harris, 489 U.S. 378, 388-

89 (1989)).

The Plaintiffs argue that the school system “has a clearly
established pattern of transferring problem employees to other
schools instead of rid[d]ing itself of the problem employee and
properly documenting said employee's misconduct.” (Pl. Memo. in
Opp. at 12.) The Plaintiffs offer the statement of Dr. Carol
Johnson, superintendent of the school system, that “[t]here exists
at Hamilton High an environment that either ignores or condones
sexual harassment between students and staff and promotes a climate
of fear and intimidation that threatens the safety and well-being
of the student body and staff.” Dr. Johnson’s statement does not
implicate KHS or the school system. The existence of such an

environment at one high school is not evidence of a system-wide

12

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 13 of 18 Page|D 54

custom or policy of ignoring or condoning sexual harassment. That
the superintendent has spoken publicly against such an environment

at one high school is, in fact, evidence to the contrary.

The Plaintiffs offer documentation from the school system’s
personnel files about the sexual misconduct of school system
employees. The files covering November, 2003, through March, 2005,

show seven instances of alleged sexual misconduct by school

personnel toward students. In five of those instances, the
employee in question was terminated or allowed to resign. (Pl.
Memo. in Opp. at 13-14; Pl. Statement of Mat. Facts Ex. A.) The

other two cases involved inappropriate verbal comments, and in each
case the offending teacher was suspended or received a documented
reprimand. (Id.) Defendant Peterson was terminated from. his
position as assistant band director after Killough was informed of
the alleged incident with Doe, although the parties dispute whether
Peterson was allowed to return to campus afterward. This evidence
is insufficient to create a genuine issue of material fact about
whether the school system had an “official policy of inaction” that
reflected a deliberate indifference to the sexual abuse of
students. Nor does the Plaintiffs' evidence show that sexual abuse
by teachers was widespread or that any school system policy or

custom was a “moving force” in the abuse of Doe.

The instructive decision here is Claiborne County. In that

case, the plaintiff was sexually abused by one of her teachers.

13

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 14 of 18 Page|D 55

Three years earlier, there had been allegations that the teacher
had inappropriately touched a female student at the middle school
where he was employed. After an inconclusive investigation, the
teacher was told “not to be so friendly' with. the students.”

Claiborne Co., 103 F.3d at 502. A few months after the earlier

 

incident, the Department of Human Services (“DHS”) informed the
superintendent that the teacher had been accused of abusing nine
different girls at the school. Shortly thereafter, DHS sent the
superintendent another letter informing him that “immediate action”
should be taken to ensure that the teacher would have “no access to
or contact with any child.” ldg The teacher reached a “pre-trial
agreement” with the DHS, in which the DHS would not press criminal
charges and would not actively seek suspension of his teacher's
license, but would inform the school board to enable it to take
further action. ;d; The school board later decided to rehire the
teacher at a different middle school. When the teacher sought to
explain the prior DHS charges to his new principal, the principal
stated that he “didn't want to hear it.” ld; at 503. The principal
never inquired about the teacher's work history. ldg When the
school year began, a rumor surfaced about the teacher’s “possible
inappropriate behavior with a female student.” ldg On another
occasion, the school guidance counselor informed the principal
about a female student's complaint that the teacher suggested that

they “get naked.” Shortly afterward, the teacher’s sexual abuse of

14

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 15 of 18 Page|D 56

the plaintiff began. Id.

The plaintiff claimed that her abuse was the result of the
school board’s “good old boys network,” in which the school board
“routinely acquiesced to the misbehavior of its employees in order

to protect its ‘good old boys.’” Claiborne County, 103 F.3d at 509.

The Sixth Circuit held:

It may be freely conceded that the board members,
individually, might have been recklessly passive in the
performance of their duties. One could even argue that
they were reckless in their failure, collectively, to
inquire further into the allegations lodged against [the
teacher] and/or to clarify the results of the DHS
investigation. It cannot be said, however, that their
failure to act in [the teacher's] case was the direct
result of a custom in the sense that the School Board
consciously never acted when confronted with its
employees' egregious and obviously unconstitutional
conduct.

Id. at 508. The evidence suggesting a custom or policy in this
case falls well short of that held insufficient in Claiborne
County. Thus, the Plaintiffs’ § 1983 claims against the school

system must be dismissed.
VII. State Claims

Plaintiffs also seek to recover against the school system,
Archer, and Killough under state common and statutory law. All
three defendants are covered by the Tennessee Governmental Tort
Liability Act (“TGTLA”), which provides that “[t]he circuit courts
shall have exclusive original jurisdiction over any action brought

under this chapter....” T.C.A. § 29-20-307. The Sixth Circuit has

15

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 16 of 18 Page|D 57

held that federal district courts may decline to exercise
supplemental jurisdiction over TGTLA claims because “the Tennessee
legislature expressed a clear preference that TGTLA claims be
handled by its own state courts. This unequivocal preference of the
Tennessee legislature is an exceptional circumstance for declining
jurisdiction [under 28 U.S.C. § 1367(c)(4)].” Gregorv v. Shelby

Countyl Tenn., 220 F.3d 433, 446 (6th Cir. 2000).

Because of the clear preference for state jurisdiction over
TGTLA claims, and because all federal claims against the school
system, Archer, and Killough have been dismissed, the court
dismisses, without prejudice, all pendant state claims against
these defendants. See United Mine Workers v. Gibbs, 383 U.S. 715,
726 (1966); Schieb v. Humane Soc. of Huron Vallev, 582 F. Supp.

717, 726 (E.D. MiCh. 1984).

16

Case 2:04-CV-02283-SH|\/|-tmp Document 68 Filed 07/21/05 Page 17 of 18 Page|D 58

VIII. Conclusion

For the foregoing reasons, the Defendants’ motions for summary
judgment are GRANTED on all § 1983 and Title IX claims against
Archer, Killough, and the school system. The remaining state
claims against those defendants are DISMISSED without prejudice.
Still pending are the Plaintiffs' motion for partial summary
judgment on all counts against Defendant Peterson and Defendant

Faulkner’s motion for summary judgment.4

So ordered this qJS¥day of July 2005.

j/y/Vr/L__`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

4 Peterson has not responded to the Plaintiffs' motion for summary

judgment against him. Because his response could be relevant to Faulkner's
motion for summary judgment, the court will not decide either of those motions
until it has received Peterson's response.

17

 

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This notice confirms a copy cf the document docketed as number 68 in
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ESSEE

 

Geoffrey Gaia

MCWHIRTER WYATT & ELDER
73 Union Ave.

1\/lemphis7 TN 38103

loe L. Wyatt

MCWHIRTER WYATT & ELDER
73 Union Ave.

1\/lemphis7 TN 38103

Ernest G. Kelly

STOKES BARTHOLOMEW EVANS & PETREE, P.A.

1000 Ridgeway Loop Rd.
Ste. 200
1\/lemphis7 TN 38120

William T. Winchester

THE LAW OFFICES OF WILLIAM T. WINCHESTER
2600 Poplar Ave.

Ste. 507

1\/lemphis7 TN 38112

Honorable Samuel Mays
US DISTRICT COURT

